               Case 2:20-cv-00633-MJP Document 15 Filed 10/19/20 Page 1 of 2




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                                 UNITED STATES DISTRICT COURT
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                                WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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10          COLTON WILLIAMS,                                  CASE NO. C20-633 MJP

11                                  Plaintiff,                ORDER DENYING STIPULATED
                                                              MOTION TO EXTEND
12                  v.                                        DISCOVERY DEADLINE

13          THE BOEING COMPANY,

14                                  Defendant.

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16          This matter comes before the Court on the Parties’ Stipulated Motion to Extend the

17   Deadline for Disclosure of Expert Testimony. (Dkt. No. 14.) Having reviewed the motion and

18   the remaining record, the Court DENIES the motion without prejudice.

19          The case schedule that the parties now seek to change was set by the Court after

20   reviewing the parties’ joint status report and discovery plan submitted on June 23, 2020. (Dkt.

21   No. 10.) The Court’s order setting trial date and related dates explicitly states “[t]he Court will

22   alter these dates only upon good cause shown: failure to complete discovery within the time

23   allowed is not recognized as good cause.” (Dkt. No. 11 at 2.) Yet the parties have provided no

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     ORDER DENYING STIPULATED MOTION TO EXTEND DISCOVERY DEADLINE - 1
              Case 2:20-cv-00633-MJP Document 15 Filed 10/19/20 Page 2 of 2




 1   reason whatsoever for extending the expert disclosure deadline. The Motion is therefore

 2   DENIED without prejudice. The Parties are free to submit another motion that provides

 3   sufficient explanation for why the Parties are unable to meet the deadline set by the Court.

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 5          The clerk is ordered to provide copies of this order to all counsel.

 6          Dated October 19, 2020.



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                                                          Marsha J. Pechman
 9                                                        United States Senior District Judge

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     ORDER DENYING STIPULATED MOTION TO EXTEND DISCOVERY DEADLINE - 2
